                                                                        Case 21-01167-abl         Doc 95    Entered 09/02/22 16:00:11    Page 1 of 14




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                                                             2        Nevada Bar No. 229                              AKERMAN LLP
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                                                                                                                      Email: ariel.stern@akerman.com
                                                             9        Attorneys for Tecumseh–Infinity Medical
                                                                      Receivable Fund, LP
                                                            10

                                                            11                                 UNITED STATES BANKRUPTCY COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                            12                                             DISTRICT OF NEVADA
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13
                      LAS VEGAS, NEVADA 89134




                                                                 In re:
AKERMAN LLP




                                                            14                                                          Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter 7
                                                            15
                                                                                     Debtor.                            Adversary Case No. 21-01167-abl
                                                            16

                                                            17                                                            TECUMSEH–INFINITY MEDICAL
                                                                 HASELECT-MEDICAL RECEIVABLES                            RECEIVABLE FUND, LP MOTION TO
                                                            18   LITIGATION FINANCE FUND                                  FILE DOCUMENTS UNDER SEAL
                                                                 INTERNATIONAL SP,
                                                            19
                                                                                     Plaintiff,
                                                            20
                                                                 v.
                                                            21

                                                            22   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            23
                                                                                     Defendant.
                                                            24

                                                            25   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            26
                                                                                     Counter-Claimant,
                                                            27

                                                            28   v.

                                                                 65410923;9
                                                                        Case 21-01167-abl        Doc 95      Entered 09/02/22 16:00:11     Page 2 of 14




                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             1
                                                                 LITIGATION FINANCE FUND
                                                             2   INTERNATIONAL SP,

                                                             3                          Counter-Defendant.

                                                             4
                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             5   LITIGATION FINANCE FUND
                                                                 INTERNATIONAL SP,
                                                             6

                                                             7                          Counter-Claimant

                                                             8   v.

                                                             9   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            10
                                                                                        Counter-Defendant.
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200

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                                                            12
                                                                                            MOTION TO FILE DOCUMENTS UNDER SEAL
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




                                                                              Tecumseh–Infinity Medical Receivable Fund, LP (“Tecumseh”), through counsel, respectfully
                                                            14   submits this Motion to File Documents Under Seal (the “Motion”) sealing leave to file under seal the
                                                            15   binders (“Binders”) identified in Tecumseh’s Statement of Undisputed Facts [ECF No. 92] as Exhibit
                                                            16   I submitted in support of its Motion for Partial Summary Judgment (“MPSJ”) as to Direct Purchase
                                                            17   Receivables [ECF No. 90]. The Binders contain—and, in fact, the information contained within them
                                                            18   consists almost entirely of—the personal identifying information and information protected from
                                                            19   disclosure by HIPAA for non-parties. They should, therefore, be sealed in the record.
                                                            20                This Motion is made and based upon the following Memorandum of Points and Authorities,
                                                            21   the Declaration of Michael Napoli attached hereto as Exhibit A, the pleadings, papers, and other
                                                            22   records on file with the clerk of the above-captioned Court, judicial notice of which is hereby requested
                                                            23   pursuant to Federal Rule of Evidence 201, and any argument of counsel at the time of the hearing (if
                                                            24   any) on the Motion.
                                                            25                                       I.      STATEMENT OF FACTS
                                                            26                1.     This action derives from a dispute between HASelect-Medical Receivables Litigation
                                                            27   Finance Fund International SP (“HASelect”) and Tecumseh concerning their respective interests in
                                                            28   certain medical receivables (“Receivables”) identified in the MPSJ. See MPSJ at 3-4.
                                                                                                                      2
                                                                 65410923;9
                                                                        Case 21-01167-abl          Doc 95      Entered 09/02/22 16:00:11        Page 3 of 14




                                                             1                2.     The Receivables typically arose from medical treatment provided to individuals

                                                             2   (“Patients”) injured in accidents who then asserted personal injury claims arising from the accidents.

                                                             3   Id. at 4.
                                                             4                3.     The Patients are not parties to this litigation.
                                                             5                4.     On August 10, 2022, Infinity Capital Management, Inc. (“Debtor”) advised Tecumseh
                                                             6   of the existence of five binders (“Binders”) containing, among other things, Healthcare Finance
                                                             7   Administration forms (“HCFA Forms”) relating to the Patients. Ex. A ¶ 3. Tecumseh acquired the
                                                             8   Binders from Infinity shortly thereafter. Id.
                                                             9                5.     In addition to the HCFA Forms, the Binders contain documents with information
                                                            10   concerning the Patients’ medical history and treatment. Id. ¶ 4; see, e.g. Ex. E to the MPSJ.
                                                            11                6.     On August 26, 2022, Tecumseh filed the MPSJ, identifying the Binders as Exhibit I.
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            12   Tecumseh advised the Court in the Statement of Undisputed Facts in support of the MPSJ that it would
                      LAS VEGAS, NEVADA 89134




                                                            13   file the present Motion seeking leave to file Exhibit I under seal.
AKERMAN LLP




                                                            14                                       II.     JURISDICTION AND VENUE
                                                            15                This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334.
                                                            16
                                                                 This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this district
                                                            17
                                                                 pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief sought herein is FRBP
                                                            18
                                                                 9037(c).
                                                            19
                                                                                                               III.    ARGUMENT
                                                            20

                                                            21                Federal Rule of Bankruptcy Procedure 9037(c) provides that the Court may seal documents
                                                            22   under certain circumstances, stating “The court may order that a filing be made under seal without
                                                            23   redaction. The court may later unseal the filing or order the entity that made the filing to file a redacted
                                                            24   version for the public record.” Here, the information contained in the Binders suggests the Court
                                                            25   should exercise its discretion pursuant to Rule 9037(c) to seal the Binders.
                                                            26                First, the Patients are not parties to this lawsuit. They have not consented, either impliedly or
                                                            27   expressly, to their personal identifying information or information pertaining to their medical
                                                            28   conditions and treatments being placed in the public record. Accordingly, their interests should be
                                                                                                                           3
                                                                 65410923;9
                                                                        Case 21-01167-abl          Doc 95     Entered 09/02/22 16:00:11          Page 4 of 14




                                                             1   afforded greater protection than might be afforded a party.

                                                             2                Second, Nevada and federal law suggest Patient’s information contained in the Binders should

                                                             3   be afforded special privacy considerations, such as sealing. NRS Ch. 603A (Security and Privacy of

                                                             4   Personal Information) mandates confidential treatment of certain personal identifying information

                                                             5   (“PII”) and defines Personal Information, which requires the proscribed confidential treatment, as:

                                                             6                       [A] natural person’s first name or first initial and last name in
                                                             7                       combination with any one or more of the following data elements,
                                                                                     when the name and data elements are not encrypted:
                                                             8
                                                                                            (a) Social security number.
                                                             9
                                                                                            (b) Driver’s license number, driver authorization card
                                                            10
                                                                                            number or identification card number.
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                                                            (c) Account number, credit card number or debit card
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                                                            12                              number, in combination with any required security code,
                      LAS VEGAS, NEVADA 89134




                                                                                            access code or password that would permit access to the
                                                            13
AKERMAN LLP




                                                                                            person’s financial account.
                                                            14
                                                                                            (d) A medical identification number or a health insurance
                                                            15                              identification number.

                                                            16                              (e) A user name, unique identifier or electronic mail address
                                                                                            in combination with a password, access code or security
                                                            17                              question and answer that would permit access to an online
                                                                                            account.
                                                            18

                                                            19                       2. The term does not include the last four digits of a social security
                                                                                     number, the last four digits of a driver’s license number, the last four
                                                            20                       digits of a driver authorization card number or the last four digits of
                                                                                     an identification card number or publicly available information that
                                                            21                       is lawfully made available to the general public from federal, state
                                                            22                       or local governmental records.

                                                            23   NRS 603A.040. Similarly, the Health Insurance Portability and Accountability Act (42 U.S.C. §§ 1301

                                                            24   et seq.) (“HIPAA”) also mandates that the Patients’ protected health information, which is also
                                                            25   contained in the Binders, be kept confidential under certain circumstances. See 45 C.F.R. § 164.514(b).
                                                            26
                                                                 Although HIPAA may not independently mandate sealing the Binders under the circumstances of this
                                                            27
                                                                 case, it is a powerful statement of the public policy in favor of protecting this sort of information from
                                                            28
                                                                                                                          4
                                                                 65410923;9
                                                                        Case 21-01167-abl          Doc 95     Entered 09/02/22 16:00:11         Page 5 of 14




                                                                 unnecessary disclosure.
                                                             1

                                                             2                Here, where the Patients are not parties and have not consented to the disclosure of their PII or

                                                             3   HIPAA-protected information, the Court can, and indeed should, exercise its discretionary powers

                                                             4   under Federal Rule of Bankruptcy Procedure 9037(c) to grant leave to Tecumseh to file the Binders
                                                             5
                                                                 under seal.
                                                             6
                                                                              In compliance with Local Rule 9018, after the filing of this Motion, Tecumseh will deliver
                                                             7
                                                                 paper copies of the Binders proposed to be filed under seal to the Court and designate each for in
                                                             8
                                                                 camera review. As such, Tecumseh submits that entry of an order authorizing the filing of such
                                                             9

                                                            10   documents under seal is appropriate.

                                                            11
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                                                                                                             IV.     CONCLUSION
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                                                            12
                                                                              Based upon the foregoing, Tecumseh respectfully request that the Court enter an order,
                      LAS VEGAS, NEVADA 89134




                                                            13
AKERMAN LLP




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                                                                 65410923;9
                                                                        Case 21-01167-abl         Doc 95    Entered 09/02/22 16:00:11       Page 6 of 14




                                                             1   substantially in the form attached hereto as Exhibit B, authorizing: (i) Tecumseh to file the Binders,

                                                             2   which have been identified as Exhibit I to the MPSJ, under seal; and (ii) granting any other relief

                                                             3   appropriate under the circumstances.

                                                             4                Dated this 2nd day of September, 2022.
                                                                                                                  Respectfully submitted,
                                                             5

                                                             6                                                    GARMAN TURNER GORDON LLP

                                                             7                                                    By: /s/ Jared M. Sechrist
                                                                                                                  GERALD M. GORDON, ESQ.
                                                             8                                                    WILLIAM M. NOALL, ESQ.
                                                                                                                  JARED M. SECHRIST, ESQ.
                                                             9
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                                                            11                                                    and
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                                                            12                                                    MICHAEL D. NAPOLI, ESQ.
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                                                                                                                  Pro hac vice
                                                            13
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                                                            21
                                                                                                                  Attorneys for Tecumseh–Infinity Medical Receivable
                                                            22                                                    Fund, LP

                                                            23

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                                                                 65410923;9
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               Exhibit A




               Exhibit A
                                                                        Case 21-01167-abl         Doc 95    Entered 09/02/22 16:00:11    Page 8 of 14




                                                                      GARMAN TURNER GORDON LLP                        MICHAEL D. NAPOLI, ESQ.
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                                                                                                                      Email: ariel.stern@akerman.com
                                                             9        Attorneys for Tecumseh–Infinity Medical
                                                                      Receivable Fund, LP
                                                            10

                                                            11                                 UNITED STATES BANKRUPTCY COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                            12                                             DISTRICT OF NEVADA
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13
                      LAS VEGAS, NEVADA 89134




                                                                 In re:
AKERMAN LLP




                                                            14                                                          Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter 7
                                                            15
                                                                                     Debtor.                            Adversary Case No. 21-01167-abl
                                                            16

                                                            17                                                            DECLARATION OF MICHAEL D.
                                                                 HASELECT-MEDICAL RECEIVABLES                           NAPOLI IN SUPPORT OF TECUMSEH–
                                                            18   LITIGATION FINANCE FUND                                 INFINITY MEDICAL RECEIVABLE
                                                                 INTERNATIONAL SP,                                          FUND, LP MOTION TO FILE
                                                            19
                                                                                                                            DOCUMENTS UNDER SEAL
                                                                                     Plaintiff,
                                                            20
                                                                 v.
                                                            21

                                                            22   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            23
                                                                                     Defendant.
                                                            24

                                                            25   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            26
                                                                                     Counter-Claimant,
                                                            27

                                                            28   v.

                                                                 65410923;9
                                                                        Case 21-01167-abl      Doc 95     Entered 09/02/22 16:00:11         Page 9 of 14




                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             1
                                                                 LITIGATION FINANCE FUND
                                                             2   INTERNATIONAL SP,

                                                             3                       Counter-Defendant.

                                                             4
                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             5   LITIGATION FINANCE FUND
                                                                 INTERNATIONAL SP,
                                                             6

                                                             7                       Counter-Claimant

                                                             8   v.

                                                             9   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            10
                                                                                     Counter-Defendant.
                                                            11
              1635 VILLAGE CENTER CIRCLE, SUITE 200

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                                                            12
                                                                         DECLARATION OF MICHAEL D. NAPOLI IN SUPPORT OF MOTION TO FILE
                      LAS VEGAS, NEVADA 89134




                                                            13                             DOCUMENTS UNDER SEAL
AKERMAN LLP




                                                            14
                                                                                   I, Michael D. Napoli, pursuant to 28 U.S.C. § 1746, declare as follows:
                                                            15
                                                                              1.   My name is Michael D. Napoli. I am over the age of twenty-one years, of sound
                                                            16
                                                                   mind, and fully competent to testify in this case. I have personal knowledge of the facts stated
                                                            17
                                                                   herein, all of which are true and correct.
                                                            18
                                                                              2.   I am a partner in the law firm of Akerman, LLP, counsel for party in interest
                                                            19
                                                                   Tecumseh–Infinity Medical Receivable Fund, LP, (“Tecumseh”) in the above-referenced case. I
                                                            20
                                                                   submit this declaration in support of Tecumseh’s Motion to File Documents Under Seal (the
                                                            21
                                                                   “Motion”) seeking leave to file under seal the binders (“Binders”) identified in Tecumseh’s
                                                            22
                                                                   Statement of Undisputed Facts [ECF No. 92] as Exhibit I submitted in support of its Motion for
                                                            23
                                                                   Partial Summary Judgment (“MPSJ”) as to Direct Purchase Receivables [ECF No. 90]. I have
                                                            24
                                                                   personal knowledge of the matters set forth herein. If called upon to testify as to the matters herein,
                                                            25
                                                                   I could and would do so.
                                                            26
                                                                              3.   On August 10, 2022, Infinity Capital Management, Inc. (“Debtor”) advised
                                                            27
                                                                   Tecumseh of the existence of five binders (“Binders”) containing, among other things, Healthcare
                                                            28
                                                                   Finance Administration forms (“HCFA Forms”) relating to the Patients. Tecumseh acquired the
                                                                                                                      2
                                                                 65410923;9
                                                                       Case 21-01167-abl          Doc 95     Entered 09/02/22 16:00:11        Page 10 of 14




                                                                   Binders from Infinity shortly thereafter.
                                                             1
                                                                              4.      In addition to the HCFA Forms, the Binders contain documents with information
                                                             2
                                                                 concerning the Patients’ medical history and treatment.
                                                             3

                                                             4                I declare under the penalty of perjury of the laws of the United States of America that the
                                                             5   foregoing is true and correct.
                                                             6                Dated this 2nd day of September, 2022.
                                                             7

                                                             8                                                     /s/Michael Napoli, Esq.
                                                                                                                   MICHAEL D. NAPOLI, ESQ.
                                                             9

                                                            10

                                                            11
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                      LAS VEGAS, NEVADA 89134




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AKERMAN LLP




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                                                                      Case 21-01167-abl           Doc 95    Entered 09/02/22 16:00:11   Page 12 of 14




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                                                             8        GERALD M. GORDON                                Pro hac vice
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                                                            12                                                        ARIEL E. STERN, ESQ.
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                                                                                                                      AKERMAN LLP
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                                                                      Receivable Fund, LP
                                                            17

                                                            18                                 UNITED STATES BANKRUPTCY COURT
                                                            19                                             DISTRICT OF NEVADA
                                                            20
                                                                 In re:
                                                            21                                                          Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter 7
                                                            22
                                                                                     Debtor.                            Adversary Case No. 21-01167-abl
                                                            23

                                                            24                                                             ORDER GRANTING TECUMSEH–
                                                                 HASELECT-MEDICAL RECEIVABLES                             INFINITY MEDICAL RECEIVABLE
                                                            25   LITIGATION FINANCE FUND                                    FUND, LP’S MOTION TO FILE
                                                                 INTERNATIONAL SP,                                           DOCUMENTS UNDER SEAL
                                                            26
                                                                                     Plaintiff,
                                                            27
                                                                 v.
                                                            28
                                                                       Case 21-01167-abl            Doc 95       Entered 09/02/22 16:00:11              Page 13 of 14




                                                                 TECUMSEH-INFINITY MEDICAL
                                                             1
                                                                 RECEIVABLES FUND, LP,
                                                             2
                                                                                         Defendant.                                HEARING DATE:
                                                             3                                                                     HEARING TIME:

                                                             4   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                             5
                                                                                         Counter-Claimant,
                                                             6
                                                                 v.
                                                             7

                                                             8   HASELECT-MEDICAL RECEIVABLES
                                                                 LITIGATION FINANCE FUND
                                                             9   INTERNATIONAL SP,

                                                            10                           Counter-Defendant.
                                                            11
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                                                                 HASELECT-MEDICAL RECEIVABLES
                                                            12
                                                                 LITIGATION FINANCE FUND
                      LAS VEGAS, NEVADA 89134




                                                            13   INTERNATIONAL SP,
AKERMAN LLP




                                                            14                           Counter-Claimant

                                                            15   v.
                                                            16   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            17
                                                                                         Counter-Defendant.
                                                            18

                                                            19               Tecumseh–Infinity Medical Receivable Fund, LP’s (“Tecumseh”), Motion to File Documents
                                                            20   Under Seal 1 [Adv. ECF # ] (the Motion), came on for hearing before the Court on September __, 2022.
                                                            21              Appearances were as noted in the record. All findings of fact and conclusions of law orally
                                                            22   stated by the Court at the hearing are incorporated herein pursuant to Fed. R. Civ. P. 52, as made
                                                            23

                                                            24   …
                                                            25

                                                            26   …
                                                            27

                                                            28   1
                                                                     All capitalized terms take on the meaning ascribed to them in the Motion, unless otherwise defined herein.
                                                                                                                               2
                                                                       Case 21-01167-abl     Doc 95      Entered 09/02/22 16:00:11        Page 14 of 14




                                                             1   applicable to these proceedings via Fed. R. Bankr. P. 6006, 7052 and 9014(c). For the reasons provided

                                                             2   by the Court on the record at the hearing,

                                                             3   IT IS HEREBY ORDERED:

                                                             4            1.    The Motion, and all of the relief sought therein, is granted in full.

                                                             5            2.    Tecumseh shall file the Binders, which have been identified as Exhibit I to the MPSJ,

                                                             6   under seal.

                                                             7                                         IT IS SO ORDERED.

                                                             8

                                                             9                                         MAGISTRATE JUDGE
                                                            10

                                                            11   PREPARED AND SUBMITTED:
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                                                            12
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                                                                 and
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